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                                                       EXHIBIT B
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From: "Tucker, Michael" <mtucker@ulmer.com>
Date: March 5, 2010 3:48:49 PM EST
To: "John Finnerty" <jffjr@comcast.net>
Cc: <jbonvisutto@bizimprove.com>, <barry.mintzer@wellsfargo.com>, "Fisher, Christopher"
<cfisher@ulmer.com>

Subject: RE: Insurance Coverage for Mueller Electric

Dear Jack:

As a follow up to my recent conversation with you, I represent Jim
Bonvissuto in his capacity as the Court appointed receiver of Mueller
Electric Company. I had previously forwarded to you a copy of the
Receiver Order. The Receiver Order in paragraph 24 prohibits any
creditor from taking any action against Mueller Electric Company
("Mueller") without prior written consent from the Receiver. The
Receiver has not given consent to any third party to bring suit against
Mueller and will not give such consent to your client or other parties
to your lawsuit.

In my prior conversation with you, I indicated that the Receiver would
investigate whether there was products liability insurance in effect in
2006. After making inquiry to Mueller's insurance agent, it appears
that there may have been coverage in effect during that time. For
additional information regarding insurance coverage, you may call
Mueller's insurance agent, Barry Mintzer at 216.902.5135. I am copying
him with this e-mail so that he will be aware that you may be calling
him.

Please direct all future correspondence directly to my attention.

Sincerely,

Michael S. Tucker
Ulmer & Berne LLP
Skylight Office Tower
1660 West 2nd Street, Suite 1100
Cleveland, Ohio 44113-1448
Direct Phone: (216) 583-7120
Direct Fax: (216) 583-7121
e-mail: mtucker@ulmer.com

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-----Original Message-----
From: John Finnerty [mailto:jffjr@comcast.net]
Sent: Friday, March 05, 2010 1:40 PM
To: jbonvisutto@bizimprove.com
Cc: Tucker, Michael; Alexandra B. Harvey; Brooks Glahn
Subject: Insurance Coverage for Mueller Electric

John,

As you know, Atty. Michael Tucker provided me with a copy of the Order
Appointing Receiver yesterday and has advised me that you will be
providing me with insurance coverage information. As you are aware, the
incident date is November 13, 2006. I assume that in the normal course
Acme would have had a substantial primary policy covering this products
liability accident as well as an excess limits policy. It would appear
that Mueller's insurance would have ready access to this information,
and I shall be pleased to communicate with the agent directly if that
would expedite things.

Thank you.

Jack Finnerty

508.428.1234
jff@finnertylawoffices.com

John F. Finnerty, Jr.
FINNERTY LAW OFFICES
901 Main Street
Osterville, MA 02655
